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                      IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF IDAHO

 In re:                                               Case No. 19-01069-JMM

 WILLIAM E. DEMPSEY, II and                           Chapter 11
 AMY D. DEMPSEY,

                         Debtors.

      ORDER GRANTING BRUNOBUILT, INC.’S MOTION FOR STAY RELIEF



          THIS MATTER having come before the Court on BrunoBuilt, Inc.’s Motion for Stay

Relief, docket no. 25, filed on October 18, 2019 (the “Motion”); and

          The above-captioned debtors having filed an objection to the Motion at docket no. 35 on

November 7, 2019; and

          An evidentiary hearing having been held before the Court on January 22, 2020; and

          Good cause appearing therefor,

          IT IS HEREBY ORDERED AND THIS DOES ORDER:

          1.     The Motion is granted for the reasons stated on the record in the Court’s oral

ruling of January 22, 2020.

          2.     BrunoBuilt, Inc. is granted stay relief for cause pursuant to 11 U.S.C. § 362(d)(1)

to prosecute its claims against the debtors in that civil lawsuit styled BrunoBuilt, Inc. v. William

Dempsey and Amy Dempsey, et al., Case No. CV01-17-23686, Fourth Judicial District Court,

State of Idaho, County of Ada (the “State Court Lawsuit”).

          3.     Stay relief granted BrunoBuilt, Inc. in this Order does not extend to any

proceedings on appeal, nor to execution on nor enforcement of any judgment entered in the State

Court Lawsuit.


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        4.     This Order is immediately enforceable notwithstanding Bankruptcy Rule

4001(a)(3).


                                    DATED: February 3, 2020



                                    ________________________
                                    JOSEPH M. MEIER
                                    CHIEF U. S. BANKRUPTCY JUDGE




Submitted by:

Robert A. Faucher
HOLLAND & HART LLP

Attorneys for BrunoBuilt, Inc.

Agreed to as a Matter of Form by:

ROARK LAW OFFICES


/s/ Holly Roark
By: Holly Roark, of the firm
Attorneys for Debtors William E. Dempsey, II and Amy D. Dempsey
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